        Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 1 of 13




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 9                                                    950 Page Mill Road
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                                                      Facsimile: (650) 858-6100
11
12                                                    Attorneys for Plaintiff and Counterclaim-
                                                      Defendant Apple Inc.
13
                                  UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15                                      SAN JOSE DIVISION

16   APPLE INC., a California corporation,
17                 Plaintiff,
18          vs.                                       Civil Action No. 11-CV-01846-LHK
19   SAMSUNG ELECTRONICS CO., LTD., a
     Korean business entity, SAMSUNG
20   ELECTRONICS AMERICA, INC., a New                 DECLARATION OF JOSEPH J.
     York corporation, and SAMSUNG                    MUELLER IN SUPPORT OF APPLE
21   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited liability company,       INC.’S MOTION FOR PARTIAL
22                                                    SUMMARY JUDGMENT
23                 Defendant.

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28
                                                           DECLARATION OF JOSEPH J. MUELLER IN
                                                                SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                        Case No. 11-cv-01846 (LHK)    FOR
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        Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 2 of 13




 1
     SAMSUNG ELECTRONICS CO., LTD., a
 2   Korean business entity, SAMSUNG
     ELECTRONICS AMERICA, INC., a New
 3
     York corporation, and SAMSUNG
 4   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited liability company, a
 5   California corporation,
 6
                    Counterclaim-Plaintiffs,
 7
             v.
 8
     APPLE INC., a California corporation,
 9
10                  Counterclaim-Defendant.

11
             I, Joseph J. Mueller, hereby declare that:
12
13           1.     I am a partner at the law firm of Wilmer Cutler Pickering Hale and Dorr, LLP,
14   and counsel for Apple Inc. (“Apple”) in the above-entitled action.
15
             2.     Attached as Exhibit 1 is a true and correct copy of the document produced as
16
17   APLNDC-WH-A 0000022804, the “Statutes of the European Telecommunications Standards

18   Institute Version approved by General Assembly #01 on 29-30 March 1988.”
19
             3.     Attached as Exhibit 2 is a true and correct copy the document produced as
20
     APLNDC-WH-A 0000012542, Annex 6 to the ETSI Rules of Procedure, the ETSI Intellectual
21
22   Property Rights Policy, adopted on November 18, 1997.

23           4.     Attached as Exhibit 3 is a true and correct copy of the document produced as
24
     APLNDC-WH-A 0000011943, Revised Minutes for 3GPP TSG-RAN WG1 24th Meeting,
25
     TSGR1-02-0628, which refer throughout to communications among the group using the “email
26
     reflector.”
27
28
                                                              DECLARATION OF JOSEPH J. MUELLER IN
                                                                   SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                           Case No. 11-cv-01846 (LHK)    FOR
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        Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 3 of 13




 1          5.      Attached as Exhibit 4 is a true and correct copy of the document produced as

 2   APLNDC-WH-A 0000013077, US Patent No. 7,386,001, “Apparatus and Method for Channel
 3
     Coding and Multiplexing in CDMA Communication System.”
 4
 5          6.      Attached as Exhibit 5 is a true and correct copy of the document produced as

 6   APLNDC-WH-A 0000009375, Samsung’s IPR Information Statement and Licensing

 7   Declaration, Sept. 19, 2003.
 8
            7.      Attached as Exhibit 6 is a true and correct copy the document produced as
 9
     APLNDC-WH-A 0000009991, an email from Beongjo Kim to 3GPP TSG RAN WG1 regarding
10
11   “AH04: Missing multiplexing rules” (June 29, 1999, 16:20).

12
            8.      Attached as Exhibit 7 is a true and correct copy the document produced as
13
     APLNDC-WH-A 0000009980, an email from Beongjo Kim to 3GPP TSG RAN WG1 regarding
14
     “AH4: Text proposal with Tdoc number (99-892)” (July 9, 1999, 8:23).
15
16          9.      Attached as Exhibit 8 is a true and correct copy of the document produced as
17
     APLNDC-WH-A0000022854, a screenshot of the 3GPP website showing RP meeting numbers
18
     associated with each version of TS 25.212.
19
20          10.     Attached as Exhibit 9 is a true and correct copy of the document produced as

21   APLNDC-WH-A0000022943, a screenshot of the 3GPP website showing the dates on which
22   particular RP meetings were held.
23
            11.     Attached as Exhibit 10 is a true and correct copy of the document produced as
24
25   APLNDC-WH-A 0000018113, US Patent No. 7,362,867, “Apparatus and Method for

26   Generating Scrambling Code In UMTS Mobile Communication System.”
27
28
                                                             DECLARATION OF JOSEPH J. MUELLER IN
                                                                  SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                          Case No. 11-cv-01846 (LHK)    FOR
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        Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 4 of 13




 1          12.    Attached as Exhibit 11 is a true and correct copy of the document produced as

 2   APLNDC-WH-A 0000012263, an email from Jaeyoel Kim to 3GPP TSG RAN WG1 regarding
 3
     “AH10: Tdoc for multiple-scrambling code” (July 8, 1999, 2:11).
 4
 5          13.    Attached as Exhibit 12 is a true and correct copy of the document produced as

 6   APLNDC-WH-A 0000010006, the Draft Minutes for 3GPP RAN-TSG 6th WG1 Meeting,

 7   TSGR1-A58/99.
 8
            14.    Attached as Exhibit 13 are true and correct copies documents produced as
 9
     APLNDC-WH-A 0000012243, APLNDC-WH-A 0000012255 and APLNDC-WH-A
10
11   0000012246 which are three emails from Jaeyoel Kim to 3GPP TSG RAN WG1 regarding

12   “AH10: R1-99915 Multiple scrambling code” (Aug. 11, 1999, 8:44; July 22, 1999, 15:01; and
13   August 12, 1999, 18:37).
14
            15.    Attached as Exhibit 14 are true and correct copies documents produced as
15
16   APLNDC-WH-A 0000012258 and APLNDC-WH-A 0000012262 which are an email and its

17   attachment from Jaeyoel Kim to 3GPP TSG RAN WG1 regarding “AH10, R1-99b59 multiple
18   scrambling code” (Aug. 26, 1999, 1:08 KST).
19
            16.    Attached as Exhibit 15 is a true and correct copy of the document produced as
20
21   APLNDC-WH-A 0000010064, the Revised Minutes for 3GPP RAN-TSG 7th WG1 Meeting,

22   TSGR1#8(99)g43.
23
            17.    Attached as Exhibit 16 is a true and correct copy of the document produced as
24
     APLNDC-WH-A 0000022857, a screenshot of the 3GPP website showing RP meeting numbers
25
26   associated with each version of TS 25.213.

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                                                            DECLARATION OF JOSEPH J. MUELLER IN
                                                                 SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                         Case No. 11-cv-01846 (LHK)    FOR
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        Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 5 of 13




 1          18.    Attached as Exhibit 17 is a true and correct copy of the document produced as

 2   APLNDC-WH-A 0000014034, U.S. Patent No. 7,050,410, “Apparatus and Method for
 3
     Controlling a Demultiplexer and a Multiplexer Used for Rate Matching in a Mobile
 4
     Communication System.”
 5
 6          19.    Attached as Exhibit 18 is a true and correct copy of the document produced as

 7   APLNDC-WH-A 0000010281, an email from Min Goo Kim to 3GPP TSG RAN WG1 regarding
 8
     “AH04 & AH05: Proposal of unified rate matching scheme” (July 8, 1999, 19:43).
 9
            20.    Attached as Exhibit 19 are true and correct copies of documents produced as
10
11   APLNDC-WH-A 0000010279 and APLNDC-WH-A 0000010708 which are an email and its

12   attachment from Min Goo Kim to 3GPP TSG RAN WG1 regarding “AH04 & AH05 Tdoc 919:
13   Unified rate matching scheme” (July 10, 1999, 16:21).
14
            21.    Attached as Exhibit 20 is a true and correct copy of the document produced as
15
16   APLNDC-WH-A 0000010518, a Samsung Proposal, “Text Proposal for Turbo codes and rate

17   matching in TS 25.212, TS 25.222 (rev. of R1-99d56), TSGR1#7 (99)d84.
18
            22.    Attached as Exhibit 21 is a true and correct copy of the document produced as
19
     APLNDC-WH-A 0000016618, U.S. Patent No. 6,928,604, “Turbo Encoding/Decoding Device
20
21   and Method for Processing Frame Data According to QOS.”

22          23.    Attached as Exhibit 22 is a true and correct copy of the document produced as
23
     APLNDC-WH-A 0000011302, an Ericsson Proposal, “Transport block concatenation and code
24
     block segmentation,” TSGR1#7 (99)b32.
25
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                                                             DECLARATION OF JOSEPH J. MUELLER IN
                                                                  SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                          Case No. 11-cv-01846 (LHK)    FOR
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        Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 6 of 13




 1          24.    Attached as Exhibit 23 is a true and correct copy of the document produced as

 2   APLNDC-WH-A 0000010046, an Ericsson Proposal, “Text proposal for 25.212,” TSGR1#7
 3
     (99)d76.
 4
 5          25.    Attached as Exhibit 24 is a true and correct copy of certain deposition testimony

 6   in this matter from Hyeon-Woo Lee, pages 11-18 of the transcript.

 7
            26.    Attached as Exhibit 25 is a true and correct copy of the document produced as
 8
     APLNDC-WH-A 0000018762, U.S. Patent No. 7,675,941, “Method and Apparatus for
 9
     Transmitting/Receiving Packet Data Using Pre-Defined Length Indicator in a Mobile
10
11   Communication System.”

12
            27.    Attached as Exhibit 26 is a true and correct copy of the document produced as
13
     APLNDC-WH-A 0000009442, Samsung’s “IPR Information Statement and Licensing
14
     Declaration,” August 7, 2007.
15
16          28.    Attached as Exhibit 27 is a true and correct copy of the document produced as
17
     APLNDC-WH-A 0000008857, the approved Minutes of the 47 TSG-RAN WG2 Meeting, R2-
18
     052063.
19
20          29.    Attached as Exhibit 28 is a true and correct copy of the document produced as

21   APLNDC-WH-A 0000009356, the participants list from the 47 TSG-RAN WG2 Meeting.
22
            30.    Attached as Exhibit 29 is a true and correct copy of the document produced as
23
     APLNDC-WH-A 0000022862, a screenshot of the 3GPP website showing RP meeting numbers
24
25   associated with each version of TS 25.322.

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                                                             DECLARATION OF JOSEPH J. MUELLER IN
                                                                  SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                          Case No. 11-cv-01846 (LHK)    FOR
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        Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 7 of 13




 1          31.    Attached as Exhibit 30 is a true and correct copy of the document produced as

 2   APLNDC-WH-A 0000017615, U.S. Patent No. 7,200,792, “Interleaving Apparatus and Method
 3
     for Symbol Mapping in an HSDPA Mobile Communication System.”
 4
 5          32.    Attached as Exhibit 31 is a true and correct copy of the document produced as

 6   APLNDC-WH-A 0000009482, Samsung’s IPR Information Statement and Licensing

 7   Declaration, July 24, 2008.
 8
            33.    Attached as Exhibit 32 is a true and correct copy of the document produced as
 9
     APLNDC-WH-A 0000011411, a Samsung Proposal, “Enhanced Symbol Mapping method for
10
11   the modulation of Turbo-coded bits based on bit priority,” 12A010044.

12
            34.    Attached as Exhibit 33 is a true and correct copy of the document produced as
13
     APLNDC-WH-A 0000011441, the approved report of the joint TSG-RAN WG1/WG2 meeting
14
     on HSDPA, 12A010045.
15
16          35.    Attached as Exhibit 34 is a true and correct copy of the document produced as
17
     APLNDC-WH-A 0000010870, the approved Report of 3GPP TSG RAN WG1 #38, R1-041469.
18
            36.    Attached as Exhibit 35 is a true and correct copy of the document produced as
19
20   APLNDC-WH-A 0000011834, a Siemens, Motorola, Samsung Proposal, “Text Proposal for Bit

21   Distribution unit for HS-DSCH,” Tdoc R1-02-0444.
22
            37.    Attached as Exhibit 36 is a true and correct copy of the document produced as
23
     APLNDC-WH-A 0000015619, U.S. Patent No. 7,447,516, “Method and Apparatus for Data
24
25   Transmission in a Mobile Telecommunication System Supporting Enhanced Uplink Service.”

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                                                            DECLARATION OF JOSEPH J. MUELLER IN
                                                                 SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                         Case No. 11-cv-01846 (LHK)    FOR
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        Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 8 of 13




 1          38.    Attached as Exhibit 37 is a true and correct copy of the document produced as

 2   APLNDC-WH-A 0000009415, Samsung’s IPR Information Statement and Licensing
 3
     Declaration, May 16, 2006.
 4
 5          39.    Attached as Exhibit 38 are true and correct copies of the documents produced as

 6   APLNDC-WH-A 0000010791 and APLNDC-WH-A 0000010862, an email and attachment from

 7   Juho Lee to 3GPP TSG RAN WG1 regarding “Another set of Samsung contributions on
 8
     enhanced uplink,” (Aug. 12, 2004, 16:10).
 9
            40.    Attached as Exhibit 39 are true and correct copies of the documents produced as
10
11   APLNDC-WH-A 0000010793 and APLNDC-WH-A 0000010864, an email and attachment from

12   Juho Lee to 3GPP TSG RAN WG1 regarding “A set of Samsung contributions on enhanced
13   uplink,” (Aug. 12, 2004, 11:24).
14
            41.    Attached as Exhibit 40 is a true and correct copy of the document produced as
15
16   APLNDC-WH-A 0000011016, the approved report of 3GPP TSG RAN WG1 #40 in Scottsdale,

17   R1-050369.
18
            42.    Attached as Exhibit 41 is a true and correct copy of the document produced as
19
     APLNDC-WH-A 0000011085, the approved report of 3GPP TSG RAN WG1 #40bis in Beijing,
20
21   R1-050574.

22          43.    Attached as Exhibit 42 is a true and correct copy of the document produced as
23
     APLNDC-WH-A 0000011139, the approved report of 3GPP TSG RAN WG1 #41 in Athens,
24
     R1-050995.
25
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28
                                                            DECLARATION OF JOSEPH J. MUELLER IN
                                                                 SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                         Case No. 11-cv-01846 (LHK)    FOR
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        Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 9 of 13




 1          44.     Attached as Exhibit 43 is a true and correct copy of the document produced as

 2   APLNDC-WH-A 0000010855, an email from Juho Lee to 3GPP TSG RAN WG1 regarding “Set
 3
     of E-DCH CRs for R1#41,” (May 3, 2005, 00:43).
 4
 5          45.     Attached as Exhibit 44 is a true and correct copy of the document produced as

 6   APLNDC-WH-A 0000010854, an email from Dirk Gerstenberger to 3GPP TSG RAN WG1

 7   regarding “Confirmation of approval of CR 25.214-363 (Tdoc R1-050565).”
 8
            46.     Attached as Exhibit 45 is a true and correct copy of the document produced as
 9
     APLNDC-WH-A 0000022859, a screenshot of the 3GPP website showing RP meeting numbers
10
11   associated with each version of TS 25.214.

12
            47.     Attached as Exhibit 46 is a true and correct copy of the document produced as
13
     SAMNDCA00027538, the “Patent Cross License Agreement Between Samsung Electronics Co.,
14
     Ltd., and Intel Corporation” with an effective date of January 1, 1993.
15
16          48.     Attached as Exhibit 47 is a true and correct copy of the document produced as
17
     SAMNDCA00027519, the “Amendment Number 1 to the Patent Cross License Agreement
18
     Between Samsung Electronics Co., Ltd., and Intel Corporation Having an Effective Date of
19
     January 1, 1993” with an Amendment Date of March 18, 2003.
20
21          49.     Attached as Exhibit 48 is a true and correct copy of the document produced as
22   SAMNDCA00027524, “Amendment Number 2 to the Patent Cross License Agreement Between
23
     Samsung Electronics Co., Ltd., and Intel Corporation Having an Effective Date of January 1,
24
     1993” with an Effective Date of July 1, 2004.
25
26          50.     Attached as Exhibit 49 is a true and correct copy of Samsung Electronics Co. Ltd.
27   v. S.A.R.L. Apple France, Tribunal de Grande Instance, Paris, RG No. 11/58301, Dec. 8, 2011.
28
                                                               DECLARATION OF JOSEPH J. MUELLER IN
                                                                    SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                            Case No. 11-cv-01846 (LHK)    FOR
                                                     9
       Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 10 of 13




 1           51.    Attached as Exhibit 50 is a true and correct copy of Samsung Electronics Co. v.

 2   Apple Inc., Court of Milan, General Record No. 45629-1/2011, Dec. 16, 2011.
 3
             52.    Attached as Exhibit 51 is a true and correct copy of the document produced as
 4
 5   APLNDC-WH-A 0000009374, Samsung’s IPR Licensing Declaration, December 14-18, 1998.

 6           53.    Attached as Exhibit 52 is a true and correct copy of Hearing Transcript, In the
 7
     Matter of Certain 3G Wideband Code Division Multiple Access Mobile Handsets and
 8
     Components Thereof, Inv. No. 337-TA-601 (ITC July 11, 2008), (APLNDC-WH-A
 9
     0000022865).
10
11           54.    Attached as Exhibit 53 is a true and correct copy of the document produced as
12
     APLNDC-WH-A 0000022602, Samsung’s Re-Amended Defence and Counterclaim filed in
13
     Telefonaktiebolaget LM Ericsson v. Samsung Electronics UK Limited HC06 C00618, March 15,
14
     2007.
15
16           55.    Attached as Exhibit 54 is a true and correct copy of the Declaration of Professor
17
     Nicolas Molfessis in Support of Apple Inc.’s Opposition to Samsung’s Motion to Dismiss
18
     Apple’s Counterclaims filed on December 20, 2011 [Dkt. 522].
19
20           56.    Attached as Exhibit 55 is a true and correct copy of correspondence with counsel

21   for Samsung seeking production of the Intel license. This correspondence began on September
22   7, 2011 and ended on October 3, 2011.
23
             57.    Attached as Exhibit 56 is a true and correct copy of Samsung’s Disclosure of
24
25   Asserted Claims and Infringement Contentions [Patent L.R. 3-1, 3-2] filed in this action on

26   September 7, 2011.
27
28
                                                              DECLARATION OF JOSEPH J. MUELLER IN
                                                                   SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                           Case No. 11-cv-01846 (LHK)    FOR
                                                   10
       Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 11 of 13




 1          58.    Attached as Exhibit 57 is a true and correct copy of Exhibit A to Samsung’s

 2   Disclosure of Asserted Claims and Infringement Contentions [Patent L.R. 3-1, 3-2] filed in this
 3
     action on September 7, 2011 which relates to the ’604 Patent.
 4
 5          59.    Attached as Exhibit 58 is a true and correct copy of Exhibit B to Samsung’s

 6   Disclosure of Asserted Claims and Infringement Contentions [Patent L.R. 3-1, 3-2] filed in this

 7   action on September 7, 2011 which relates to the ’410 Patent.
 8
            60.    Attached as Exhibit 59 is a true and correct copy of Exhibit E to Samsung’s
 9
     Disclosure of Asserted Claims and Infringement Contentions [Patent L.R. 3-1, 3-2] filed in this
10
11   action on September 7, 2011 which relates to the ’792 Patent.

12
            61.    Attached as Exhibit 60 is a true and correct copy of Exhibit F to Samsung’s
13
     Disclosure of Asserted Claims and Infringement Contentions [Patent L.R. 3-1, 3-2] filed in this
14
     action on September 7, 2011 which relates to the ’867 Patent.
15
16          62.    Attached as Exhibit 61 is a true and correct copy of Exhibit G to Samsung’s
17
     Disclosure of Asserted Claims and Infringement Contentions [Patent L.R. 3-1, 3-2] filed in this
18
     action on September 7, 2011 which relates to the ’001 Patent.
19
20          63.    Attached as Exhibit 62 is a true and correct copy of Exhibit H to Samsung’s

21   Disclosure of Asserted Claims and Infringement Contentions [Patent L.R. 3-1, 3-2] filed in this
22   action on September 7, 2011 which relates to the ’516 Patent.
23
            64.    Attached as Exhibit 63 is a true and correct copy of Exhibit K to Samsung’s
24
25   Disclosure of Asserted Claims and Infringement Contentions [Patent L.R. 3-1, 3-2] filed in this

26   action on September 7, 2011 which relates to the ’941 Patent.
27
28
                                                              DECLARATION OF JOSEPH J. MUELLER IN
                                                                   SUPPORT OF APPLE INC.’S MOTION       OPPOS
                                                                           Case No. 11-cv-01846 (LHK)    FOR
                                                   11
       Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 12 of 13




 1          65.    Attached as Exhibit 64 is a true and correct copy of a screenshot of the Intel

 2   website. See, Intel Corporation website http://www.intel.com/content/www/us/en/wireless-
 3
     products/mobile-communications/company-overview.html (last visited January 24, 2012).
 4
 5          66.    Attached as Exhibit 65 is a true and correct copy of Brief of Amici Curiae Nvidia

 6   Corp., Micron Tech. Inc., Samsung Elecs. Corp., and Hynix Semiconductor, Inc. on the Issue of

 7   the Appropriate Remedy for Rambus’s Violations of the FTC Act at 4, In the Matter of Rambus,
 8
     Inc., No. 9302 (Federal Trade Commission Sept. 15, 2006).
 9
            67.    I declare under penalty of perjury that the foregoing is true and correct. Executed
10
11   on this 25th day of January, 2012, in Boston, Massachusetts.

12
13   Dated: January 25, 2012                             /s/ Joseph J. Mueller
14                                                      Joseph J. Mueller

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                                                              DECLARATION OF JOSEPH J. MUELLER IN
                                                                   SUPPORT OF APPLE INC.’S MOTION        OPPOS
                                                                           Case No. 11-cv-01846 (LHK)     FOR
                                                   12
       Case 5:11-cv-01846-LHK Document 660-9 Filed 01/25/12 Page 13 of 13




 1                                   CERTIFICATE OF SERVICE
 2
            The undersigned hereby certifies that a true and correct copy of the above and foregoing
 3
     document has been served on January 25, 2012, to all counsel of record who are deemed to have
 4
     consented to electronic service per Civil Local Rule 5.4.
 5
 6                                                         /s/ Joseph J. Mueller
 7                                                        Joseph J. Mueller

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                                                                 DECLARATION OF JOSEPH J. MUELLER IN
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                                                                              Case No. 11-cv-01846 (LHK)    FOR
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